Case 2:25-cv-01963-MEF-MAH      Document 106      Filed 03/24/25   Page 1 of 4 PageID: 431




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


   Mahmoud KHALIL,

                      Petitioner,
         v.

   Donald J. TRUMP, in his official capacity as
   President of the United States; William P.
   JOYCE, in his official capacity as Acting
   Field Office Director of New York,               No. 25-cv-1963-MEF-MAH
   Immigration and Customs Enforcement;
   Caleb VITELLO, Acting Director, U.S.             NOTICE OF CROSS-
   Immigration and Customs Enforcement;             MOTION FOR RE-
   Kristi NOEM, in her official capacity as         TRANSFER TO THE
   Secretary of the United States Department of     SOUTHERN DISTRICT
   Homeland Security; Marco RUBIO, in his           OF NEW YORK
   official capacity as Secretary of State; and
   Pamela BONDI, in her official capacity as
   Attorney General, U.S. Department of
   Justice,

                      Respondents.


        PLEASE TAKE NOTICE that, upon the accompanying memorandum of

  law, and previously filed briefing in this action, Petitioner Mahmoud Khalil,

  through counsel, hereby moves this Court to re-transfer this case to the Southern

  District of New York.

        Respondents consent to the filing of this motion. Petitioner waives his

  reply on this cross-motion, and Petitioner consents to the extension of




                                           1
Case 2:25-cv-01963-MEF-MAH    Document 106      Filed 03/24/25   Page 2 of 4 PageID: 432




  Respondents’ deadline to file a reply in support of their renewed motion to

  transfer the case to Louisiana until Thursday, March 27, at 10 a.m. ET.



  Dated: March 24, 2025                  Respectfully submitted,

                                         /s/Baher Azmy



   AMERICAN CIVIL LIBERTIES UNION           CENTER FOR CONSTITUTIONAL RIGHTS
   OF NEW JERSEY FOUNDATION                 Baher Azmy
   Jeanne LoCicero                          Samah Sisay*
   Farrin R. Anello                         Diala Shamas*
   Molly K.C. Linhorst                      666 Broadway, 7th Floor
   570 Broad Street, 11th Floor             New York, NY 10012
   Newark, New Jersey 07102                 Tel: (212) 614-6464
   Tel: (973) 854-1715
                                            CLEAR PROJECT
   NEW YORK CIVIL LIBERTIES UNION           MAIN STREET LEGAL SERVICES, INC.
   FOUNDATION                               Ramzi Kassem*
   Amy Belsher*                             Naz Ahmad
   Robert Hodgson*                          Shezza Abboushi Dallal*
   Veronica Salama*                         Natasha Hajo, Law Student*
   Molly Biklen*                            Sasha Jenkins, Law Student*
   New York Civil Liberties Union           Harnoor Singh, Law Student*
   Foundation                               CUNY School of Law
   125 Broad Street, 19th Floor             2 Court Square
   New York, N.Y. 10004                     Long Island City, NY 11101
   Tel: (212) 607-3300                      Tel: (718) 340-4558

                                            WASHINGTON SQUARE LEGAL
   AMERICAN CIVIL LIBERTIES UNION           SERVICES, INC.
   FOUNDATION                               Alina Das*
   Omar Jadwat                              Immigrant Rights Clinic
   Noor Zafar*                              245 Sullivan Street, 5th Floor
   Sidra Mahfooz*                           New York, New York 10012
   Brian Hauss*                             Tel: (212) 998-6430

                                        2
Case 2:25-cv-01963-MEF-MAH    Document 106       Filed 03/24/25   Page 3 of 4 PageID: 433




   Esha Bhandari*                             DRATEL & LEWIS
   Vera Eidelman*                             Amy E. Greer
   Tyler Takemoto*                            29 Broadway, Suite 1412
   Brett Max Kaufman*                         New York, NY 10006
   American Civil Liberties Union             Tel: (212) 732-8805
   Foundation                                 Fax: (212) 571-3792
   125 Broad Street, Floor 18
   New York, NY 10004                         VAN DER HOUT LLP
   Tel: (212) 549-2500                        Marc Van Der Hout (CA Bar #80778)*
                                              Johnny Sinodis (CA Bar #290402)*
                                              Oona Cahill (CA Bar #354525)*
                                              360 Post St., Suite 800
                                              San Francisco, CA 94108
                                              Tel: (415) 981-3000
                                              Fax: (415) 981-3003

   *Pro hac vice application pending or       Counsel for Petitioner
   forthcoming




                                          3
Case 2:25-cv-01963-MEF-MAH       Document 106       Filed 03/24/25   Page 4 of 4 PageID: 434




                            CERTIFICATE OF SERVICE

        I hereby certify that on March 24, 2025, I electronically filed a Notice Of

  Cross-Motion For Re-Transfer Of This Case To The Southern District Of New

  York and Proposed Order.

        Notice of this filing will be sent to all counsel of record in this case via the

  Court’s electronic filing system.

  Dated: March 24, 2025                          Respectfully submitted,
                                                 /s/Baher Azmy
                                                 Counsel for Petitioner




                                             4
